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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                    CASE NO.: 1:20-cv-25184

  BRIAN JAMIE ROETHLISBERGER,

                 Plaintiff,

  v.

  VIX, INC. aka VIX FLORIDA, INC. and
  FRANCISCO URBINA,

                 Defendants.


                     COMPLAINT FOR COPYRIGHT INFRINGEMENT
                         (INJUNCTIVE RELIEF DEMANDED)

        Plaintiff BRIAN JAMIE ROETHLISBERGER by and through his undersigned counsel,

 brings this Complaint against Defendants VIX, INC. aka VIX FLORIDA, INC. and

 FRANCISCO URBINA for damages and injunctive relief, and in support thereof states as

 follows:

                                 SUMMARY OF THE ACTION

        1.      Plaintiff BRIAN JAMIE ROETHLISBERGER (“Roethlisberger”) brings this

 action for violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and

 distribute Roethlisberger's original copyrighted Works of authorship.

        2.      Roethlisberger is a fashion & portrait photographer based in New York City. As

 a former professional ballet dancer, he has an eye for capturing movement and energy, and has

 become known for creating dynamic photographs that combine both strength & athleticism with

 humanity & expression. Focused on bringing beauty and a unique sense of character to the




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 world of men's fashion, over the years he has forged a signature pop art style that is vibrant, bold,

 and often instantly identifiable.

        3.      His work has been featured in British Vogue, Vogue Paris, The New York Times,

 Dazed, GQ, and PAPER Magazine, among others. Clients include Sony Music Entertainment

 and Universal Music Group.

        4.      Defendant VIX, INC. AKA VIX FLORIDA, INC. (“VIX”) is a webpage which

 advertises Latin American cultured movies, and television shows. Ranging from newest releases,

 most popular, to old classics, VIX also incorporates, a mixture of pop culture news articles. The

 pop culture news articles include a variety of American super stars, and Latino / Latina

 superstars. At all times relevant herein, VIX owned and operated the internet website located at

 the URL www.vix.com (the “Website”).

        5.      Defendant Francisco Urbina (“Urbina”) is the registrant of the Website.

        6.      Defendants VIX and Urbina are collectively referred to herein as “Defendants.”

        7.      Roethlisberger alleges that Defendants copied Roethlisberger's copyrighted

 Works from the internet in order to advertise, market and promote its business activities.

 Defendants committed the violations alleged in connection with Defendants’ business for

 purposes of advertising and promoting sales to the public in the course and scope of Defendants’

 business.

                                     JURISDICTION AND VENUE

        8.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

        9.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

 §§ 1331, 1338(a).

        10.     Defendants are subject to personal jurisdiction in Florida.


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          11.    Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

 because the events giving rise to the claims occurred in this district, Defendants engaged in

 infringement in this district, Defendants reside in this district, and Defendants are subject to

 personal jurisdiction in this district.

                                           DEFENDANTS

          12.    VIX, Inc. aka VIX Florida, Inc. is a Florida Corporation, with its principal place

 of business at 2121 Ponce De Leon Boulevard, Suite 800, Coral Gables, Florida, 33134, and can

 be served by serving its Registered Agent, Corporate Creations Network Inc., 801 US Highway

 1, North Palm Beach, Florida, 33408.

          13.     Francisco Urbina is an individual residing in Miami-Dade county, state of

 Florida and can be served at 2121 Ponce De Leon Boulevard, Suite 800, Coral Gables, Florida,

 33134.

                            THE COPYRIGHTED WORKS AT ISSUE

          14.    In 2017, Roethlisberger created the photographs entitled 3.15.17.TylerC-21.jpg,

 and 3.15.17.TylerC-01.jpg, which are shown below and referred to herein as the “Works”.




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         15.     Roethlisberger registered the Works with the Register of Copyrights on March 15,

 2019 and was assigned registration number VA 2-142-812. The Certificate of Registration is

 attached hereto as Exhibit 1.

         16.     Roethlisberger's Works are protected by copyright but are not otherwise

 confidential, proprietary, or trade secrets.

         17.     At all relevant times Roethlisberger was the owner of the copyrighted Works at

 issue in this case.

                              INFRINGEMENT BY DEFENDANTS

         18.     Defendants have never been licensed to use the Works at issue in this action for

 any purpose.

         19.     On a date after the Works at issue in this action were created, but prior to the

 filing of this action, Defendants copied the Works.

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         20.     Defendants copied Roethlisberger's copyrighted Works without Roethlisberger's

 permission.

         21.     After Defendants copied the Works, they made further copies and distributed the

 Works on the internet to promote the sale of goods and services as part of their pop culture

 articles.

         22.     Defendants copied and distributed Roethlisberger's copyrighted Works in

 connection with Defendants’ business for purposes of advertising and promoting Defendants’

 business, and in the course and scope of advertising and selling products and services.

         23.     Roethlisberger's Works are protected by copyright but are not otherwise

 confidential, proprietary, or trade secrets.

         24.     Defendants committed copyright infringement of the Works as evidenced by the

 documents attached hereto as Exhibit 2.

         25.     Roethlisberger never gave Defendants permission or authority to copy, distribute

 or display the Works at issue in this case.

         26.     Roethlisberger notified Defendants of the allegations set forth herein on April 21,

 2020 and May 12, 2020. To date, the parties have failed to resolve this matter. Copies of the

 Notices to Defendants are attached hereto as Exhibit 3.
                                         COUNT I
                                  COPYRIGHT INFRINGEMENT

         27.     Plaintiff incorporates the allegations of paragraphs 1 through 26 of this Complaint

 as if fully set forth herein.

         28.     Roethlisberger owns valid copyrights in the Works at issue in this case.

         29.     Roethlisberger registered the Works at issue in this case with the Register of

 Copyrights pursuant to 17 U.S.C. § 411(a).

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           30.    Defendants copied, displayed, and distributed the Works at issue in this case and

 made derivatives of the Works without Roethlisberger's authorization in violation of 17 U.S.C. §

 501.

           31.    Defendants performed the acts alleged in the course and scope of its business

 activities.

           32.    Defendants’ acts were willful.

           33.    Roethlisberger has been damaged.

           34.    The harm caused to Roethlisberger has been irreparable.
           WHEREFORE, the Plaintiff prays for judgment against the Defendants VIX, Inc. aka

 VIX Florida, Inc. and Francisco Urbina that:

           a.     Defendants and their officers, agents, servants, employees, affiliated entities, and

 all of those in active concert with them, be preliminarily and permanently enjoined from

 committing the acts alleged herein in violation of 17 U.S.C. § 501;

           b.     Defendants be required to pay Plaintiff his actual damages and Defendants’

 profits attributable to the infringement, or, at Plaintiff's election, statutory damages, as provided

 in 17 U.S.C. § 504;

           c.     Plaintiff be awarded his attorneys’ fees and costs of suit under the applicable

 statutes sued upon;

           d.     Plaintiff be awarded pre and post-judgment interest; and

           e.     Plaintiff be awarded such other and further relief as the Court deems just and

 proper.

                                            JURY DEMAND

           Plaintiff hereby demands a trial by jury of all issues so triable.

 Dated: December 17, 2020                         Respectfully submitted,
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                                         /s/ Joel B. Rothman
                                         JOEL B. ROTHMAN
                                         Florida Bar Number: 98220
                                         joel.rothman@sriplaw.com
                                         CRAIG A. WIRTH
                                         Florida Bar Number: 125322
                                         craig.wirth@sriplaw.com
                                         MEIR TEITELBAUM
                                         Florida Bar Number: 1022915
                                         meir.teitelbaum@sriplaw.com

                                         SRIPLAW
                                         21301 Powerline Road
                                         Suite 100
                                         Boca Raton, FL 33433
                                         561.404.4350 – Telephone
                                         561.404.4353 – Facsimile

                                         Counsel for Plaintiff Brian Jamie Roethlisberger




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